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                             No. 2023-1093, 2023-1141


                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT


                    VANDEWATER INTERNATIONAL INC.,

                                      Plaintiffs,

     SIGMA CORPORATION, SMITH-COOPER INTERNATIONAL, INC.,

                                Plaintiffs-Appellants,

                                          v.

                   UNITED STATES, ISLAND INDUSTRIES,

                               Defendants-Appellees


           Appeal from the United States Court of International Trade in
             Case No. 1:18-cv-00199, Senior Judge Leo M. Gordon


     DEFENDANT-APPELLEE’S REPLY IN SUPPORT OF ITS
 MOTION FOR EXTENSION OF TIME TO FILE ITS RESPONSE BRIEF

      Defendants-appellee, the United States, respectfully submits this reply in

support of its request that the Court grant an extension of time of 58 days, through

April 20, 2023, for the Government to file its response brief in this appeal.

Appellant Sigma Corporation opposes our motion on the grounds that the outcome

of this appeal may affect the outcome of Sigma’s parallel appeal in a False Claim

Act litigation currently pending before the United States Court of Appeals for the
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Ninth Circuit. Sigma concedes, however, that one of the first questions asked at

oral argument before the Ninth Circuit was whether the Ninth Circuit should “wait

for the Federal Circuit to decide before we decide this case?” (which Sigma’s

counsel answered in the affirmative). Sigma thus cites the possibility that the

Ninth Circuit will wait for a decision from this court, but never explains why any

resulting delay would prejudice Sigma. If anything, Sigma’s submission indicates

a lack of prejudice if there is a likelihood that the Ninth Circuit will await this

Court’s decision prior to ruling on the False Claims Act appeal.

      Also, in the same colloquy to which Sigma cites, the Ninth Circuit inquired

as to whether it should wait in issuing its decision if the Supreme Court were to

grant certiorari in another appeal that is unrelated to the issues before this Court.

The Supreme Court subsequently granted certiorari in that separate case.

Moreover, we understand that the Ninth Circuit in Sigma’s False Claims Act

appeal is currently pursuing supplemental briefing regarding jurisdictional issues

that are likewise unrelated to the issues on appeal before this Court. These facts

further undermine Sigma’s claim of prejudice from the extension we are seeking.

      By contrast, our motion for an extension of time contains detailed support

for lead counsel’s numerous competing commitments through April 2023. We

have also set forth several additional factors complicating the time and effort that




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are required to coordinate the Government’s response brief. Our motion is thus

supported by good cause, and we respectfully request that it be granted.

      Accordingly, we respectfully request that the Court extend to April 20, 2023

the time for the Government to file its response briefs in this appeal.

                                              Respectfully submitted,

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February 10, 2023                             Attorneys for Defendant-Appellees




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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Rule 27(d)(2)(A) of the Rules of the United States Court of

Appeals for the Federal Circuit, respondent’s counsel certifies that this motion

complies with the Court’s type-volume limitation rules. According to the word

count calculated by the word processing system with which this motion was

prepared, the motion contains a total of 366 words.

                               /s/ Joshua E. Kurland
